                                                   Case 3:07-cv-05944-JST Document 4647 Filed 05/10/16 Page 1 of 1



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                                             6                                 UNITED STATES DISTRICT COURT
                                             7                              NORTHERN DISTRICT OF CALIFORNIA
                                             8                                       SAN FRANCISCO DIVISION
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                                                 IN RE: CATHODE RAY TUBE (CRT)                            Master File No. 3:07-cv-05944-JST
                                            10   ANTITRUST LITIGATION                                     MDL No. 1917
R OBINS K APLAN LLP




                                            11                                                            The Honorable Jon S. Tigar
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                                                 This Document Relates to:
                                            12                                                            [PROPOSED] ORDER OF DISMISSAL
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                                                 Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al.,
                                            13   No. 3:11-cv-05513-JST
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                                            15            The Court having considered the stipulation of the parties, and good cause appearing

                                            16   therefore, orders as follows:

                                            17            1) All claims asserted by Plaintiffs Best Buy Co., Inc., Best Buy Purchasing LLC, Best

                                            18                Buy Enterprise Services, Inc., Best Buy Stores, L.P., and Bestbuy.com, L.L.C. against

                                            19                Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba America

                                            20                Information Systems, Inc., Toshiba America Consumer Products, L.L.C., and Toshiba

                                            21                America Electronic Components, Inc. in the underlying action are hereby dismissed

                                            22                with prejudice pursuant to Fed. R. Civ. P. 41(a)(2).

                                            23                                                                     DISTRI
                                                          2) Each party shall bear its own costs and attorneys’ fees.
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                                            24            IT IS SO ORDERED.                                    TA
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                                            26   Dated: ____________,
                                                           May 10     2016                             IT IS S
                                                                                         _______________________________________
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                                                                                         The Honorable Jon S. Tigar
                                            27                                           UNITED STATES DISTRICT COURT JUDGE
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                                                 Master Case No. 3:07-cv-05944-JST               -3-          ER           [PROPOSED] ORDER OF DISMISSAL
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